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                                                         May24, 2018


          By Facsimile and ECF
          The Honorable Petrese B. Tucker
          United States District Judge
          United States District Court
          Eastern District of Pennsylvania
          601 Market Street
          Philadelphia, PA 19106

                                Re:   United States v. Devos Ltd. et al., 14-cr-574 (PBT)

          Dear Judge Tucker:

                  On behalf of all Defendants in the above-captioned matter (the "Devos case"), we write
          to notify the Court of a recent decision of the United States Court of Appeals for the Second
          Circuit that bears directly upon the issues the Defendants have raised in the post-trial motions
          that are pending before the Court. 1

                  In United States v. Litvak, - F.3d - , 2018 WL 2049677 (2d Cir. May 3, 2018), the
          Second Circuit vacated the conviction of bond trader Jesse Litvak on the ground that a lay
          witness had improperly been permitted to testify regarding his subjective opinion on a matter of
          law, holding that the witness's views were both irrelevant and prejudicial. The same conclusion
          follows here, where the government repeatedly elicited the irrelevant, subjective, confusing, and
          unduly prejudicial views oflay witnesses regarding legal matters relating to contractual
          interpretation, including their interpretation of the Return Authorization forms and of the other
          contracts that governed the relationships between Guaranteed Returns and its customers. 2

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                  We respectfully submit this letter memorandum to address new authority that supports
          the arguments advanced in the memoranda oflaw accompanying the Defendants' post-trial
          motions. If the Court prefers that we convert this letter into a formal supplemental memorandum
          oflaw, we will do so promptly.
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                   At trial in this matter, the govenunent further compounded the prejudicial impact of its
          improper lay witness testimony by: (a) successfully precluding the Defendants' introduction of
          expert testimony regarding matters of contract interpretation (which, unlike the testimony of the
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            By way of background, we note that the Second Circuit's recent decision in the Litvak
    case turned principally upon whether or not the defendant's admitted misstatements to his
    counterparties in the bond trading field were material and therefore could support a criminal
    conviction of fraud. In seeking to prove materiality, the government proffered the testimony of
    several counterparty traders, most of whom admitted on cross-examination that they viewed the
    defendant as an arms-length negotiating party whose statements should be viewed through a
    skeptical lens. One trader, however, testified that he believed Litvak was serving as his agent,
    and that he therefore relied upon Litvak's statements. Despite acknowledging to the court and
    the jury that Litvak was not in fact the counterparty's agent, the government argued that the
    trader's view of the law would assist the jury in determining whether the defendant's statements
    were material, because it would allow the jury to conclude that the trader viewed Litvak as
    trustworthy. After extensive deliberations, the jury acquitted the defendant on all charges except
    the one affected by the challenged testimony.

             In permitting the trader to testify to his view of the parties' legal relationship, the district
    court held prior to trial that "any prejudice was unlikely because [the trader] would be 'testifying
    to [his] own point of view."' Id. at *6 (quoting United States v. Litvak, No. 13-cr-19, Order on
    Motion in Limine (D. Conn. June 28, 2016), at 4). On appeal, however, the Second Circuit
    sharply disagreed, holding that the lay opinion testimony was so prejudicial as to require vacatur
    under Federal Rule of Evidence 403. "At best," explained the court, "[the trader's] testimony
    about the supposed agency relationship had a high probability of confusing the jury by asking it
    to consider as relevant the perception" of a lay witness that was "entirely wrong." Litvak, 2018
    WL 2049677, at * 10. But, "[a]t worst, [the trader's] testimony on an agency relationship would
    mislead the jury based on the government's argument that" the mistaken impression proved the
    statements to be material. Id. As such, the court held, "[t]he government's concept of subjective
    trust as evidence of materiality became a back door for the jury to apply the heightened
    expectations of trust that an agency relationship carries." Id. at *11.

            Although focused in part on agency law issues in the bond trading field, the decision in
    Litvak is powerfully relevant to the arguments that the Defendants in the Devos case raised
    before the Court both during trial and in their post-trial motions. In the Devos trial, lay

    government's lay witnesses, would have accurately described the law), and (b) convincing the
    Court not to instruct the jury as to fundamental rules of contract law, the accuracy of which
    instructions the government did not even dispute. In opposing these efforts on the government's
    part, the Defendants relied at the time on an earlier appeal in the Litvak case, the decision on
    which is published at 808 F.3d 160 (2d Cir. 2015). See Supp. Opp. to Mot. to Exclude Expert
    Testimony, Dkt. No. 270, at 4. In that earlier decision in the Litvak series of appeals, the Second
    Circuit vacated Litvak's first conviction because, among other things, the district court had
    improperly excluded an expert witness who was slated to testify on Litvak's behalf regarding the
    legal issue of agency, but allowed the lay witnesses to testify as to their view on the legal issue.
    As the Second Circuit held, exclusion of the expert testimony was error because, "[ w ]hile the
    issue of whether Litvak was acting as agent or principal is not an element of any offense charged,
    Litvak posits that this proposed testimony bore on both materiality and fraudulent intent."
    Litvak, 808 F .3d at 186.
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   witnesses, including pharmacists and sales personnel, were repeatedly asked by the government
   to testify regarding their subjective view of the meaning of Guaranteed Returns' contracts. See
   Mar. 7, 2017 Tr. at 133-135; Feb. 9, 2017 Tr. at 78. As the Defendants argued at trial, and would
   have proved through the testimony of excluded witness Professor Claire Finkelstein, the lay
   witnesses' opinions regarding the interpretation of the contracts were almost uniformly legally
   incorrect- the contracts did not, as a matter oflaw, require Guaranteed Returns to provide indate
   management services to its customers. See generally Mot. for Judgment of Acquittal or New
   Trial, Dkt. No. 344-1 ("Post-Trial Motion"), at 113-125. The government nevertheless elicited
   just such inaccurate testimony from a number of its witnesses, on the premise that the witnesses
   were "testifying regarding their understanding of the contracts." Feb. 9, 2017 Tr. at 77:8-11.
   But, as the Second Circuit in Litvak held, the testimony of a lay person regarding his or her
   "point of view" on a legal issue - particularly (but not only) where, as here, the point of view is
   incorrect - "ha[ s] a high probability of confusing the jury by asking it to consider [the opinion]
   as relevant. " 3

           The lay witness opinions that the government elicited in the Devos trial were irrelevant,
   and merit a new trial under the reasoning of the Litvak decision, for the additional reason that
   they had no bearing on the key issue at hand: the Defendants' intent. The government's clear
   purpose in introducing this testimony was for the jury to conclude that, because the lay witnesses
   did not believe the contracts permitted Guaranteed Returns to keep the indates, the Defendants
   must have participated in a scheme to defraud and could not possibly have thought in good faith
   that they were permitted to retain the refunds for indated drugs. See Mar. 7, 2017 Tr. at 134:8-
   17. But, as the Defendants argued at trial and in their post-trial motions, this is not a reasonable
   inference. See Post-Trial Motion at 120-121. Indeed, the subjective understanding of one person
   regarding the meaning of a contract simply has no "tendency" to make the intent of another
   individual "more or less probable than it would be without the [testimony]." Fed. R. Evid. 401.
   For that reasons as well, the lay witness testimony that the government elicited in the Devos trial
   was not only incorrect, but also irrelevant and confusing, and should have been precluded on
   multiple grounds.

           There can also be no doubt that the Defendants in the Devos trial suffered significant and
   undue prejudice from the admission of the lay witnesses' incorrect and irrelevant testimony
   relating to the company's contractual relationships with its customers. The testimony elicited by
   the government bore directly upon - and attempted to undermine, without any factual or legal
   basis - the core of the defense at trial. The Defendants' defense rested significantly on the

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              Importantly, while it is the Defendants' position that the lay opinions of government
    witnesses in the Devos trial were inaccurate as a matter oflaw (and while the government
    effectively conceded this point by offering no objection to the accuracy of the Defendants'
    proposed jury instructions regarding contract law), a new trial would be required even if the legal
    conclusions of the governments' witnesses were correct. In fact, although the Litvak court faced
    a situation in which the lay testimony was concededly wrong, a lay witness's testimony as to his
    or her interpretation of a contract is irrelevant whether or not it is correct, because the witness
    simply is not qualified to opine on the matter under Federal Rule of Evidence 701. See Feb. 9,
    2017 Tr. at 76-77.
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    position that Guaranteed Returns' contracts permitted it to retain customers' indate refunds,
    unless the customers expressly bargained for and were contractually guaranteed indate aging
    services. The government repeatedly argued to the jury that the Defendants' position was so
    contrary to common sense that in fact the contractual provisions were part of, and proved, the
    fraud scheme alleged. See, e.g., Mar. 20, 2017 Tr. at 39-40. The government's argument in this
    regard rested in significant part on the testimony of the lay witnesses as to their interpretations of
    the contracts. See id. at 39-44. Thus, as in Litvak, the lay witnesses' opinions thereby served as
    a "back door" for the government to argue that the contracts did not permit the challenged
    conduct, that the Defendants could not have believed that their conduct was contractually
    permitted, and that the Defendants acted in bad faith. Id.; see also Post-Trial Motion at 120 &
    n.40.

             Indeed, the admission of the lay witnesses' irrelevant testimony was even more damaging
    here than in the Litvak case. The court in Litvak instructed the jury that the witness's testimony
    was legally baseless. Here, by contrast, the Defendants were precluded both from introducing
    the testimony of an expert witness who would have proven the inaccuracy of the lay opinion
    testimony, and from providing the jury with contract law instructions that would have corrected
    the misconceptions that the government and its lay witnesses so repeatedly advanced. For these
    reasons, the recent Litvak decision underscores what the Defendants have long argued: that the
    lay witness testimony the government elicited regarding the interpretation of Guaranteed
    Returns' contracts was incorrect and improper; that the harm from this impropriety was
    aggravated by the exclusion of contrary evidence and jury instructions proffered by the defense;
    and that the jury's verdict must therefore be set aside.

             Finally, as they have already argued in their post-trial motions, Post-Trial Motion at 123-
    24, the Defendants note that the above-described errors relating to the government's elicitation of
    lay witness testimony on contract law issues undermine not only the fraud convictions in the
    Devos trial, but in fact require that all of the counts of conviction be vacated. Indeed, if the
    improper lay witness testimony had been excluded and the jury had been informed of the
    governing principles of contract law, the lack of an intent to defraud would have undermined the
    money laundering conviction (because there were no fraud proceeds to launder and no motive to
    conceal), the theft of government property convictions (because there could have been no intent
    to steal that which the Defendants were entitled to retain), and the obstruction of justice and false
    statements convictions (because the Defendants had nothing to hide).
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            For all of the foregoing reasons, the Defendants respectfully request that, in ruling upon
    the Defendants' post-trial motions, the Court consider the analysis of the Litvak case as
    providing yet another reason why the Defendants' motions for a judgment of acquittal and/or a
    new trial pursuant to Federal Rules of Criminal Procedure 29( c) and 33 should be granted.

                                                       Respectfully submitted,

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                                                       Elkan Abramowitz

    cc:    Assistant U.S. Attorneys Patrick Murray and Nancy Rue (by ECF)
           All Defense Counsel (by ECF)
